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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-802V
                                    Filed: December 7, 2016
                                         UNPUBLISHED

****************************
DONNA DEATON,                          *
                                       *
                   Petitioner,         *      Damages Decision Based on Proffer;
v.                                     *      Influenza;
                                       *      Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
John Robert Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On July 6, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a right shoulder injury caused by her October
14, 2015 influenza vaccination. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On November 7, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for SIRVA. On December 7, 2016, respondent filed a proffer
on award of compensation (“Proffer”) indicating petitioner should be awarded
$129,885.32. Proffer at 1. In the Proffer, respondent represented that petitioner agrees
with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $129,885.32 in the form of a check payable to
petitioner, Donna Deaton. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                    )
    DONNA DEATON,                                   )
                                                    )
                 Petitioner,                        )
                                                    )   No. 16-802V
    v.                                              )   Chief Special Master Dorsey
                                                    )   ECF
    SECRETARY OF HEALTH AND HUMAN                   )
    SERVICES,                                       )
                                                    )
                 Respondent.                        )
                                                    )


                       PROFFER ON AWARD OF COMPENSATION

I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

$129,885.32, which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $129,885.32, in the form of a check payable to petitioner.

Petitioner agrees.




1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
                                                1
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                                         Respectfully submitted,

                                         BENJAMIN C. MIZER
                                         Principal Deputy Assistant Attorney General

                                         C. SALVATORE D’ALESSIO
                                         Acting Director
                                         Torts Branch, Civil Division

                                         CATHARINE E. REEVES
                                         Acting Deputy Director
                                         Torts Branch, Civil Division

                                         ALTHEA W. DAVIS
                                         Senior Trial Counsel
                                         Torts Branch, Civil Division

                                         /s/ Colleen C. Hartley
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DATED: December 7, 2016




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